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15   COMPANY
16
                                   UNITED STATES DISTRICT COURT
17                                NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
18

19
     UNITED STATES OF AMERICA,                        Case No. 14-CR-00175-WHA
20
                                  Plaintiff,          RESPONSE TO ORDER REQUESTING
21                                                    INFORMATION REGARDING DIXIE,
22                                                    FLY AND OTHER FIRES
            v.
23                                                    Judge: Hon. William Alsup
     PACIFIC GAS AND ELECTRIC COMPANY,
24
                                  Defendant.
25

26

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28

             RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
                                    Case No. 14-CR-00175-WHA
 1                   Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this

 2   response to the Court’s August 6, 2021 order requesting information regarding the Fly Fire, the Dixie

 3   Fire and certain other fires. (Dkt. 1415.)

 4                   This submission proceeds in three parts. Part I addresses the Fly Fire. Part II

 5   addresses the Dixie Fire. Part III addresses certain other fires.

 6   I.       Fly Fire

 7                   PG&E shall please explain its role in the ignition of the Fly Fire, which
                     has now merged with the Dixie Fire. PG&E shall also describe any
 8
                     PG&E equipment removed by the U.S. Forest Service and the location of
 9                   the equipment when it was in use.

10                   PG&E’s investigation into the cause and origin of the Fly Fire, which merged with
11   the Dixie Fire, is ongoing. PG&E provides the following information by the August 16 deadline set
12   by the Court, based on information currently known to PG&E and the records PG&E has been able
13   to collect and analyze in the time provided. As discussed in greater detail below, PG&E assisted the
14   United States Forest Service (“USFS”) in site visits on August 2 and 4, 2021 during which the USFS
15   asked for PG&E’s assistance in moving, examining and collecting portions of a White Fir on a
16   section of PG&E’s line (the “White Fir”).
17                   The USFS has not reported a determination as to the cause of the fire. Based on an
18   interview with the Butte County District Attorney reported by the media, PG&E understands that
19   certain investigators are investigating whether there was “a tree into a line, and then a fire started, or
20   a fire started which put the tree into the line after a fire had started—presumably from the Dixie Fire
21   spotting over”.1
22                   According to PG&E’s records, between approximately 4:49 p.m. and 4:50 p.m. on
23   July 22, 2021, certain SmartMeters on the Gansner 1101 12 kV Distribution Circuit (the
24   “Gansner 1101 Circuit”) reported powering down, and PG&E line reclosers detected a line-to-
25

26        1
            See North State Public Radio, Dixie Fire: SPECIAL COVERAGE (Aug. 5, 2021),
27   https://www.mynspr.org/news/2021-08-05/greenville-special-coverage-8-5-thur.
28
                                                   2
               RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
                                      Case No. 14-CR-00175-WHA
 1   ground fault on each phase of the Gansner 1101 Circuit, respectively, at approximately 4:50 p.m.

 2   and 4:51 p.m. The InciWeb Incident Information System website identifies the start time of the fire

 3   at approximately 5:15 p.m. on July 22, 2021,2 and PG&E has identified smoke from what appears to

 4   be the Fly Fire in videos taken from Fire Watch cameras starting at approximately 5:01 p.m. While

 5   the USFS has not reported an origin point for the Fly Fire, based on the area from which PG&E

 6   assisted the USFS in collecting evidence, it appears the USFS is investigating whether the Fly Fire

 7   ignited somewhere in the broader area near 435 and 563 Butterfly Valley Twain Road in Quincy,

 8   California, which is roughly four-tenths of a mile from where Butterfly Valley Twain Road branches

 9   off of Highway 70.3 That area is served by PG&E’s Gansner 1101 Circuit, and it is upstream of the

10   SmartMeters and downstream of the line reclosers mentioned above.

11                  On August 2 and August 4, 2021, PG&E assisted the USFS in its site visits to

12   Butterfly Valley Twain Road and in collecting evidence from three spans on the Gansner 1101

13   Circuit between pole 100389432 and pole 100389435.4,5 The area between those four poles is

14   referred to hereinafter in this Section as the “Collection Area”.
15                  As mentioned above, during those site visits, PG&E assisted the USFS in moving,
16   examining and collecting portions of the White Fir that was resting on the Gansner 1101 Circuit
17   between pole 100389433 and pole 100389434. The approximate location of the base of the
18

19       2
            See Fly Information, InciWeb – Incident Information System (July 28, 2021, 2:15 PM),
20   https://inciweb.nwcg.gov/incident/7716/.
         3
21         PG&E notes that the InciWeb Incident Information System provides a description of the
     location as “3.5 miles North of Quincy, California” and lists GPS coordinates of 40.007, -120.965,
22   which is approximately three-tenths of a mile from the area from which PG&E assisted the USFS in
     collecting evidence.
23
         4
           To facilitate the collection of the conductor between these four poles for the USFS, and at the
24
     direction of the USFS, PG&E cut the conductor a few feet past pole 100389432 and
25   pole 100389435, respectively (that is, a few feet closer to pole 100389431 and pole 100389436,
     respectively).
26       5
           On July 25, PG&E also assisted the USFS in collecting two SmartMeters located near
27   pole 100389435.
28
                                                  3
              RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
                                     Case No. 14-CR-00175-WHA
 1   White Fir is marked in Exhibit N, along with the approximate locations of the poles in the Collection

 2   Area and the approximate location where the White Fir was observed laying on the Gansner 1101

 3   Circuit, which is approximately 90’ from pole 100389433 and 140’ from pole 100389434. While

 4   assisting the USFS, PG&E observed that the conductors had what appeared to be burn marks or

 5   other signs of disturbance near the areas that may have been in contact with the White Fir and also

 6   that the White Fir had burn marks near the areas that may have previously been in contact with the

 7   conductors. Photographs taken by PG&E during the USFS site visits appear to show that the fuses

 8   on both phases of pole 100389433 (which is upstream of the location of the White Fir) had operated.

 9   In connection with this submission, PG&E is producing a thumb drive to the Court that has the

10   numerous photographs that PG&E took as it assisted the USFS in moving and collecting evidence

11   that show, among other things, the fuses, the White Fir and the nearby conductors.6,7

12                  In addition to portions of the White Fir, on August 4, 2021, PG&E assisted the USFS
13   in collecting the conductors and the equipment on the poles (including cross arms, insulators, and
14   fuses, but excluding transformers and the bottom portions of the poles themselves) in the Collection
15   Area.8 The USFS provided PG&E with an inventory of PG&E equipment that the USFS collected,
16   and PG&E is providing that inventory as Exhibit O.
17

18

19
         6
20         Faces and names have been obscured to protect the privacy of all persons (employees,
     contractors and law enforcement officials) participating on these occasions. In addition to these
21   photographs, PG&E has several short video clips taken on the same occasions, which PG&E can
     provide to the Court upon request.
22
         7
           As reflected in certain of these photographs, PG&E notes that a tree other than the White Fir
23   can also be observed resting on the Gansner 1101 Circuit in the Collection Area. This tree, which
     PG&E understands to be a Douglas Fir, appears to be in the same span as the White Fir, but the
24
     Douglas Fir is closer than the White Fir is to pole 100389434. While PG&E was assisting the USFS
25   on August 2, a USFS personnel informed a PG&E employee that this Douglas Fir had fallen after the
     USFS was already on site. The USFS did not collect the Douglas Fir.
26       8
           As noted above, on July 25, PG&E also assisted the USFS in collecting two SmartMeters
27   located near pole 100389435.
28
                                                  4
              RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
                                     Case No. 14-CR-00175-WHA
 1                  PG&E shall additionally describe the extent of trimmed and untrimmed
                    vegetation in the area near where the U.S. Forest Service took possession
 2                  of PG&E’s equipment.
 3

 4                  PG&E’s records reflect that the span that included the White Fir—the span between

 5   pole 100389433 and pole 100389434—was inspected on July 6, 2021 as part of a routine vegetation

 6   management patrol, and based on PG&E’s analysis of records associated with that patrol, the

 7   White Fir was not identified for either removal or trimming. Six other trees in that span were

 8   identified for trimming on a scheduled basis and were not identified to be priority trees. This work

 9   was outstanding at the time of the Fly Fire, consistent with the applicable timelines to complete such

10   work. PG&E’s records also reflect that the CEMA inspection for the Gansner 1101 Circuit was

11   completed in April 2021, and inspectors did not identify any trees for work in that span. Based on

12   PG&E’s analysis of relevant records, PG&E believes that no other trees in that span (aside from the

13   six noted above) that had been identified for work in routine vegetation management patrols or

14   CEMA patrols between 2011 and 2021 had work outstanding as of July 22, 2021.

15                  Following a June 25, 2021 enhanced inspection, Electric Corrective (“EC”)

16   notifications were created for pole 100389433 and pole 100389434. (As noted above, the White Fir

17   was found between pole 100389433 and pole 100389434, about 90’ from pole 100389433 and 140’

18   from pole 100389434.) Both notifications were assigned a completion date of June 25, 2022 and,

19   consistent with the applicable completion timelines, were outstanding at the time of the Fly Fire.

20   Both notifications list in the damage field, “CCHR Cyl Clearance (10’ Radius x 8’ High)”, and they

21   note in the comments section either “Trees growing around the pole” or “Tree limbs overgrown

22   around pole”. Pursuant to requirements imposed by Public Resources Code (“PRC”) section 4292,

23   PG&E is required to, among other things, clear a 10-foot radius up to eight-feet high of vegetation

24   around poles in a State Responsibility Area that have non-exempt equipment. Based on PG&E’s

25   records and a review of photographs, pole 100389434 did not have any non-exempt equipment that

26   would have made it subject to PRC section 4292. As to pole 100389433, which did have non-

27   exempt equipment, the photograph attached to the EC notification that shows vegetation in the

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              RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
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 1   vicinity of a pole appears to be a photograph of pole 100389434, not pole 100389433. PG&E’s

 2   records reflect that, under PG&E’s vegetation clearance (“VC”) program and pursuant to PRC

 3   section 4292, the vegetation around the base of pole 100389433 was last subject to clearing work on

 4   April 20, 2021. According to PG&E’s records, and consistent with PG&E’s general practice, the

 5   pole would have been subject to clearing work again approximately during the week ending July 31,

 6   2021.

 7                  PG&E is providing to the Court on a thumb drive aerial photographs taken in 2019

 8   that are associated with pole 100389433 and pole 100389434; a photograph that PG&E understands

 9   to have been taken in that span in connection with the July 2021 routine vegetation management

10   patrol; and photographs taken during the June 25, 2021 enhanced inspection of these two poles.

11
                    PG&E shall name the relevant circuit and identify (by name, position and
12                  house address, the latter may be under seal) officers or other employees
                    who made the decision to leave the relevant circuit energized.
13

14                  PG&E’s specific methodologies to operationalize compliance with the CPUC’s

15   guidelines for Public Safety Power Shutoffs (“PSPS”) this fire season were set forth in Dkt. 1401.

16   Because the forecast weather and other conditions for the Gansner 1101 Circuit did not meet, or

17   approach, any of the applicable threshold levels for de-energization under those PSPS

18   methodologies, PG&E did not reach any decision points by any PG&E officers or employees

19   regarding whether to conduct a PSPS of the Gansner 1101 Circuit on July 22, 2021.

20   II.      Dixie Fire

21
                    [W]ith respect to the Dixie Fire, please submit all documentation of the
22                  segments of the Bucks Circuit imaged by the drone or from the ground by
                    PG&E or contractor(s), which depict, prior to the fire, the Douglas Fir
23                  that is suspected of starting the fire. In submitting the documentation,
                    please identify the tree somehow, so that we can pick it out from the forest.
24

25                  Attached as Exhibit P are 15 photographs of the segments of the Bucks Creek Circuit
26   that appear to depict the Douglas Fir. Fourteen of the photos were taken from the air on August 13,
27

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              RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
                                     Case No. 14-CR-00175-WHA
 1   2019; one of the photos was taken on May 13, 2021 in connection with an equipment inspection.

 2   PG&E has inserted arrows in those photographs that identify what appears to be the Douglas Fir

 3   based on information available to PG&E.

 4                    PG&E shall also name the contractor and its employee(s) (by name,
 5                    position and house address, the latter may be under seal), that operated
                      the drone near the Dixie Fire, on the day of the Dixie Fire’s ignition.
 6                    Describe the purpose of the drone’s surveillance.

 7                    Based on its investigation into the drone issue raised by CAL FIRE, PG&E responds
 8   as follows:
 9                    PG&E has not identified any individual or company who flew a drone near the Dixie
10   Fire on the evening of July 13, 2021.
11                    PG&E has seen no indication that any PG&E employee or contractor was instructed
12   or asked to—or did—fly a drone along the Bucks Creek 1101 Circuit or near the Dixie Fire on
13   July 13, 2021.
14                    PG&E records reflect that two PG&E contractors operated drones in the morning on
15   July 13, 2021 in Butte and Plumas Counties. As described below, neither flight was near the Dixie
16   Fire, and the records indicate that both flights were complete by approximately 12:30 p.m.
17                    PG&E records reflect that employees of one drone contractor operated a drone in
18   Plumas County on the morning of July 13, 2021; per PG&E request as part of PG&E’s enhanced
19   inspection process, the flight took images of a single structure on the Caribou-Westwood line about
20   30 miles from the Dixie Fire’s apparent ignition point, measuring the distance point to point.
21   According to the flight records and time-stamps on the images this contractor returned to PG&E, that
22   drone flight was completed by around 11:00 a.m.
23                    PG&E records reflect employees of the second drone contractor operated a drone in
24   Butte County beginning late morning on July 13, 2021; per PG&E request as part of PG&E’s
25   enhanced inspection process, the flight took images of a single structure on the Caribou-Westwood
26   line about 20 miles from the Dixie Fire’s apparent ignition site, measuring the distance point to
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              RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
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 1   point. According to the flight records and time-stamps on the images this contractor returned to

 2   PG&E, that flight was completed by around 12:30 p.m.

 3                  PG&E records do not reflect that any additional drone flights were authorized or

 4   taken by or on behalf of PG&E in Butte or Plumas Counties on July 13, 2021.

 5                  PG&E has actively cooperated with, and provided information to, the Butte County

 6   District Attorney’s office in connection with its investigation of any possible drone flights near the

 7   Dixie Fire on July 13.

 8
                    If the drone was not working for PG&E when it flew close to the Dixie
 9                  Fire, please inform the Court for whom the drone was working. . . . Also
                    explain what the drone was doing.
10

11                  As noted above, PG&E’s investigation has not identified anyone who operated a

12   drone close to the Dixie Fire on July 13, 2021, why anyone operating such a drone did so, or what

13   such a drone was doing. PG&E’s investigation has revealed no reason to believe that any such drone

14   operator was acting at PG&E’s direction or on PG&E’s behalf.

15                  Finally, identify the date and time on which the relevant stretch of the
                    Bucks Circuit had last been worked (and by whom) and what the risk
16                  ranking was for that stretch.
17                  Equipment Work: On May 1, 2019, PG&E performed a special equipment inspection
18   of the Circuit for PG&E’s Wildfire Safety Inspection Program. The inspection identified for
19   replacement the pole supporting Fuse 17733. That pole was replaced on June 21, 2019 by UECC, a
20   contractor. That was the most recent equipment work performed on the span where the tree fell,
21   which was between the pole supporting Fuse 17733 and the next pole load-side and downhill from
22   Fuse 17733 (the “Span”).
23                  PG&E conducts routine Patrol Inspections and Detailed Inspections of its equipment
24   in accordance with CPUC General Order 165. The most recent Detailed Inspection of the Span
25   occurred on May 13, 2021 and the most recent Patrol Inspection of the Span occurred on May 29,
26

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                                                  8
              RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
                                     Case No. 14-CR-00175-WHA
 1   2020. PG&E’s records do not reflect that either inspection identified any finding requiring

 2   corrective action within the Span or the poles that frame it.

 3                   Vegetation Inspections: The most recent tree work near the Span was performed in

 4   June 2019 by a Mountain F. Enterprises, a contractor.

 5                   PG&E conducts routine vegetation management and CEMA vegetation management

 6   patrols. The most recent routine patrol occurred on November 11, 2020 and the most recent CEMA

 7   patrol was performed on January 14, 2021. PG&E’s records do not reflect that either inspection

 8   identified the Douglas Fir for work.

 9                   Risk Ranking: PG&E uses the 2021 Wildfire Distribution Risk Model to rank Circuit

10   segments in High Fire Threat Districts (“HFTDs”) based on wildfire risk. For each segment, the
11   model factors in the probability of ignition and the predicted consequences of ignition. The model is
12   described in the company’s 2021 Wildfire Mitigation Plan. The Model calculates two probabilities
13   of ignition, one based on the probability of equipment failure (“Equipment Risk Model”) and one
14   based on the probability of contact from vegetation (as apparently happened here) (“Vegetation Risk
15   Model”), and generates separate risk rankings for each. Under the Equipment Risk Model, the
16   section was ranked 11 out of 3,635 circuit sections. The Vegetation Risk Model informs the
17   Enhanced Vegetation Tree Weighted Prioritization Ranking, which ranked the section 568 out of
18   3,074 circuit sections.
19                   Based on risk ranking, in January 2021, PG&E approved the Bucks Creek 1101
20   Circuit for system hardening—primarily undergrounding—to mitigate both vegetation and
21   equipment risks. On April 16, 2021, representatives of PG&E, CAL FIRE, the California
22   Department of Transportation, the USFS, the CPUC and others conducted a site visit to the Bucks
23   Creek 1101 Circuit to discuss planning, engineering, permitting and construction for hardening
24   projects on this circuit and others like it.
25

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              RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
                                     Case No. 14-CR-00175-WHA
 1   III.       Other Fires

 2
                     [I]n a filing not to exceed five pages, please identify each fire that PG&E
 3                   started, or is suspected to have started, this wildfire season. In a chart
                     that is separate from PG&E’s responses to the above questions, state the
 4                   following with respect to each fire:
 5
                              1. The date it started;
 6                            2. The suspected cause;
                              3. The number of acres burned;
 7                            4. The number of structures burned; and
                              5. The number of fatalities
 8

 9                   Appendix A contains a two-page listing of ignitions, other than the two ignitions

10   potentially related to the Dixie and Fly Fires, that, based on the information available to PG&E as of

11   the date of the Court’s August 6, 2021 Order, would constitute CPUC Reportable Ignitions in an

12   HFTD on or after May 10, 2021—the earliest date in 2021 listed on CAL FIRE’s website for “Fire

13   Season Declarations (Summer/Winter Preparedness)”.9 In addition to the CPUC Reportable

14   Ignitions, Appendix A also includes ignitions for which PG&E has not formed a conclusion as to the
15   suspected initiating event but for which PG&E submitted an Electric Incident Report to the CPUC
16   because the events were allegedly attributable to PG&E equipment and otherwise satisfied the
17   requirements for submitting an Electric Incident Report to the CPUC. All of the information
18   provided in Appendix A is preliminary and subject to change, including as a result of ongoing
19   investigations and analyses.
20                   A CPUC Reportable Ignition is an ignition for which, to the best of PG&E’s
21   knowledge at the time that the information is submitted to the CPUC, each of the following is true:
22   (i) the fire burned material other than electrical or communication facilities; (ii) the fire traveled
23   more than one linear meter from the ignition point; and (iii) the suspected initiating event of the fire
24   is attributable to PG&E’s equipment. So that PG&E was able to provide the information requested
25

26          9
          See Stats and Events, CAL FIRE, https://www.fire.ca.gov/stats-events/ (last visited Aug. 16,
27   2021).
28
                                                   10
                RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
                                       Case No. 14-CR-00175-WHA
 1   by the Court in the time period provided by the Court, PG&E limits its response as described above,

 2   which allows PG&E to rely on its ongoing work to track and gather information for CPUC

 3   Reportable Ignitions for its annual submissions to the CPUC. (See CPUC Decision 08-11-005,

 4   Appendix C.) To the extent that the Court would like additional information about non-reportable

 5   ignitions (e.g., ignitions that affect only PG&E’s equipment or that travel less than one linear meter),

 6   PG&E can prepare a supplemental response at the Court’s request.

 7                  As requested by the Court, Appendix A includes columns for each reported ignition’s

 8   start date, suspected initiating event, number of acres burned, number of structures burned and

 9   number of fatalities. As part of PG&E’s ongoing work to prepare its annual submissions to the

10   CPUC, PG&E gathers and tracks this information from CAL FIRE reports, in-field observations or

11   other sources. Based on that ongoing work, PG&E’s records do not reflect any of the ignitions listed

12   in Appendix A as resulting in any fatalities, and they reflect one structure being destroyed on

13   June 16, 2021 as a result of an ignition for which the suspected initiating event is contact with a bird.

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              RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
                                     Case No. 14-CR-00175-WHA
 1   Dated: August 16, 2021                          Respectfully Submitted,

 2                                                   JENNER & BLOCK LLP
 3

 4                                                 By:    /s/ Reid J. Schar
                                                         Reid J. Schar (pro hac vice)
 5
                                                     CRAVATH, SWAINE & MOORE LLP
 6

 7
                                                   By:    /s/ Kevin J. Orsini
 8                                                       Kevin J. Orsini (pro hac vice)

 9                                                   CLARENCE DYER & COHEN LLP
10

11                                                 By:    /s/ Kate Dyer
                                                         Kate Dyer (Bar No. 171891)
12

13                                                 Attorneys for Defendant PACIFIC GAS AND
                                                   ELECTRIC COMPANY
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            RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
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 1                                         Appendix A

 2              2021 Wildfire Season Ignitions in HFTDs as of August 6, 2021

 3                                                Structures             Suspected Initiating
         Date                   Size                         Fatalities
                                                  Destroyed                      Event
 4   May 10, 2021    <3 meters of linear travel       0          0      Contact–Animal–Bird
 5   May 10, 2021    <0.25 Acres                      0          0      Vegetation Contact
     May 10, 2021    0.26-9.99 Acres                  0          0      Vegetation Contact
 6   May 11, 2021    Structure-only                   0          0      Equipment Failure
     May 12, 2021    3 meters–0.25 Acres              0          0      Vegetation Contact
 7
     May 16, 2021    3 meters–0.25 Acres              0          0      Contact–Animal–Bird
 8   May 17, 2021    <0.25 Acres                      0          0      Equipment Failure
     May 17, 2021    <0.25 Acres                      0          0      Unknown
 9   May 19, 2021    0.26-9.99 Acres                  0          0      Vegetation Contact
10   May 20, 2021    <0.25 Acres                      0          0      Vegetation Contact
     May 20, 2021    3 meters–0.25 Acres              0          0      Contact–3rd Party
11   May 21, 2021    <0.25 Acres                      0          0      Equipment Failure
     May 24, 2021    1 meter–< 3 meters               0          0      Vegetation Contact
12
     May 29, 2021    3 meters–0.25 Acres              0          0      Equipment Failure
13   May 31, 2021    10-99 Acres                      0          0      Under Investigation
     June 2, 2021    0.26-9.99 Acres                  0          0      Vegetation Contact
14   June 3, 2021    <3 meters of linear travel       0          0      Vegetation Contact
15   June 6, 2021    Structure-only                   0          0      Under Investigation
     June 6, 2021    10-99 Acres                      0          0      Vegetation Contact
16   June 7, 2021    <3 meters of linear travel       0          0      Vegetation Contact
     June 10, 2021   <3 meters of linear travel       0          0      Vegetation Contact
17
     June 10, 2021   <0.25 Acres                      0          0      Vegetation Contact
18   June 16, 2021   <0.25 Acres                      0          0      Equipment Failure
     June 16, 2021   <3 meters of linear travel       1          0      Contact–Animal–Bird
19   June 16, 2021   0.26-9.99 Acres                  0          0      Vegetation Contact
20   June 16, 2021   <0.25 Acres                      0          0      Vegetation Contact
     June 17, 2021   <0.25 Acres                      0          0      Vegetation Contact
21   June 18, 2021   0.26-9.99 Acres                  0          0      Vegetation Contact
     June 19, 2021   <0.25 Acres                      0          0      Equipment Failure
22
     June 19, 2021   <0.25 Acres                      0          0      Vegetation Contact
23   June 20, 2021   0.26-9.99 Acres                  0          0      Vegetation Contact
     June 20, 2021   <0.25 Acres                      0          0      Vegetation Contact
24   June 24, 2021   <0.25 Acres                      0          0      Contact–3rd Party
25   June 24, 2021   <3 meters of linear travel       0          0      Equipment Failure
     June 26, 2021   <0.25 Acres                      0          0      Equipment Failure
26   June 26, 2021   <0.25 Acres                      0          0      Contact–3rd Party
     June 26, 2021   0.26-9.99 Acres                  0          0      Vegetation Contact
27
     June 28, 2021   <3 meters of linear travel       0          0      Equipment Failure
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       RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
                              Case No. 14-CR-00175-WHA
 1                                            Structures             Suspected Initiating
         Date                 Size                       Fatalities
                                              Destroyed                      Event
 2   June 29, 2021 100-299 Acres                  0          0      Under Investigation
 3   July 2, 2021 <0.25 Acres                     0          0      Contact–3rd Party
     July 3, 2021 <3 meters of linear travel      0          0      Contact–Animal–Other
 4   July 4, 2021 0.26-9.99 Acres                 0          0      Contact–Animal–Other
     July 7, 2021 0.26-9.99 Acres                 0          0      Equipment Failure
 5
     July 8, 2021 0.26-9.99 Acres                 0          0      Equipment Failure
 6   July 8, 2021 <0.25 Acres                     0          0      Equipment Failure
     July 8, 2021 0.26-9.99 Acres                 0          0      Vegetation Contact
 7   July 8, 2021 <0.25 Acres                     0          0      Equipment Failure
 8   July 10, 2021 <0.25 Acres                    0          0      Contact–Animal–Bird
     July 10, 2021 <3 meters of linear travel     0          0      Vegetation Contact
 9   July 11, 2021 0.26-9.99 Acres                0          0      Vegetation Contact
     July 12, 2021 0.26-9.99 Acres                0          0      Contact–Animal–Bird
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     July 12, 2021 0.26-9.99 Acres                0          0      Contact–3rd Party
11   July 12, 2021 <3 meters of linear travel     0          0      Equipment Failure
     July 13, 2021 <0.25 Acres                    0          0      Vegetation Contact
12   July 14, 2021 <0.25 Acres                    0          0      Vegetation Contact
13   July 19, 2021 <0.25 Acres                    0          0      Vegetation Contact
     July 21, 2021 <0.25 Acres                    0          0      Vegetation Contact
14   July 21, 2021 0.26-9.99 Acres                0          0      Equipment–Overloaded
     July 25, 2021 <0.25 Acres                    0          0      Vegetation Contact
15
     July 27, 2021 <0.25 Acres                    0          0      Vegetation Contact
16   July 31, 2021 <0.25 Acres                    0          0      Equipment Failure
     July 31, 2021 <0.25 Acres                    0          0      Equipment–Overloaded
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       RESPONSE TO ORDER REQUESTING INFORMATION RE DIXIE, FLY AND OTHER FIRES
                              Case No. 14-CR-00175-WHA
